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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF COLORADO

  WARNER BROS. RECORDS INC., et al.,

        Plaintiffs,

  v.
                                            C.A. No.: 19-cv-00874-RBJ-MEH
  CHARTER COMMUNICATIONS, INC.,

        Defendant.


   DEFENDANT CHARTER COMMUNICATIONS, INC.’S REPLY IN SUPPORT OF ITS
      MOTION TO DISMISS PLAINTIFFS’ CLAIM FOR VICARIOUS LIABILITY
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         Charter hereby replies to Plaintiffs’ Opposition to its Motion to Dismiss, ECF 50

  (“Opp.”). Plaintiffs’ effort to recast their allegations misstates the allegations and highlights the

  implausibility of their vicarious liability claim. In the final analysis, however, the Complaint fails

  to include allegations necessary for Plaintiffs to proceed on that claim. First, Plaintiffs have

  failed to allege that allegedly infringing material serves as a “draw” to subscribe to Charter’s

  internet service. Second, Plaintiffs fail to allege that Charter can control the infringing activity.

  I.     Plaintiffs’ effort to rehabilitate their allegations demonstrates that their “direct
         financial benefit” theory is fundamentally flawed.

         Charter’s motion stated the proper standard for the direct financial benefit prong of

  vicarious liability; there must be a causal connection between the financial benefit and the

  infringing activity. Mot. at 9. This District has consistently held that any financial benefit must

  be directly caused by the infringement. Id. at C(2). Plaintiffs’ Complaint falls short of alleging

  that the infringing material is a draw for infringers to subscribe to Charter’s service. Id.

         In response, Plaintiffs acknowledge that the requisite financial benefit must be obvious,

  direct, and attributable to the infringement. Opp. at 6, 10. They nonetheless argue that Charter

  misstates the standard, relying on out-of-context snippets of non-binding authority to argue that

  the financial benefit can be attenuated.1 Id. at 11. Disregarding the circuit-level jurisprudence

  that has underpinned this District’s vicarious liability rulings, Plaintiffs argue that any financial

  benefit, regardless of its proximity to the underlying direct infringement, should be sufficient.

  But even the out-of-circuit district court decisions they cite make no such leap. See Capitol

  Records, LLC v. Escape Media Grp., Inc., 2015 WL 1402049 (S.D.N.Y. Mar. 25, 2015)


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    Plaintiffs also take issue with the fact that Charter cites cases decided at summary judgment,
  though Plaintiffs do as well. Opp. at 18. Notably, they do not cite a single instance of an ISP held
  vicariously liable on the basis alleged here, reinforcing that their theory simply does not fit here.



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  (requiring infringing material to serve as a draw), at *42; Arista Records LLC v. Usenet.com,

  Inc., 633 F. Supp. 2d 124, 157 (S.D.N.Y. 2009) (same); Disney Enters., Inc. v. Hotfile Corp.,

  2013 WL 6336286, at *39 (S.D. Fla. Sept. 20, 2013) (same). Indeed, to do so would expand

  vicarious liability beyond all rational bounds. Id. at 10.2

          To fit their allegations to the proper standard, Plaintiffs stretch them far beyond those

  actually reflected in the Complaint. They try to connect the dots between a random assortment of

  allegations by arguing that subscribers were drawn to Charter for fast internet speeds, and that

  Charter knowingly touted its internet speed as a way to attract would-be infringers. Opp. at 12

  (citing to Compl. ¶¶ 75, 77-78, 85, 90-91). The Complaint, however, contains no such allegation

  (nor could it). The cited paragraph merely alleges that Charter advertises the speed of its internet

  service to subscribers, which, in turn, permits users to download material. Compl. ¶ 75.

          But Plaintiffs’ argument that ads touting the speed of Charter’s service drew would-be

  infringers to select Charter’s internet service over others is facially implausible. Plaintiffs state

  that “plausibility is not a probability standard,” Opp. at 6, but while the Court must accept the

  allegations as true, the facts must still create a plausible basis for liability to survive a Rule 12

  motion. Robbins, 519 F.3d at 1247 (noting that one of the purposes of the plausibility requirement is

  to “weed out claims that do not (in the absence of additional allegations) have a reasonable prospect

  of success”). It can safely be presumed that most, if not all, ISPs market the speed of their

  service, and there is of course nothing nefarious about doing so, as it is required for all manner of


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    Plaintiffs rely on one Southern District of New York case to urge that allegations relating to an
  entity’s tolerance of infringement are sufficient to allege vicarious liability. Opp. at 13. In that
  case, and the precedent upon which it relied, plaintiffs still alleged or demonstrated that the
  infringing content served as a draw to use defendant’s service. See Escape Media, 2015 WL
  1402049, at *42 (relying upon Capitol Records, Inc. v. MP3tunes, LLC, 2013 WL 1987225, at
  *10 (S.D.N.Y. May 14, 2013); A&M Records, Inc. v. Napster, Inc., 114 F. Supp. 2d 896, 921
  (N.D. Cal. 2000)).


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  online activities. Plaintiffs can point to nothing to suggest that Charter’s ads are specifically

  targeted at would be infringers. Moreover, Plaintiffs do not allege that the advertised speeds are

  meaningfully faster than Charter’s competitors or that those faster speeds somehow drew

  subscribers to Charter’s service (over others) to infringe. If Plaintiffs’ allegations were sufficient,

  every ISP would face exposure for merely advertising the speed of its internet service.

          Plaintiffs’ cannot overcome another of Charter’s key criticisms of the Complaint: that it

  provides no plausible basis for the necessary inference that subscribers chose Charter’s internet

  service because they somehow knew that Charter would not terminate them if they were alleged

  to infringe. Opp. at 12. Plaintiffs simply fail to point to any allegations that potential subscribers

  were aware of or considered this when selecting a service provider. Id. Instead, Plaintiffs argue

  that “Charter’s failure to act” somehow caused current Charter subscribers to become aware that

  they could infringe with impunity.3 Id. However, Plaintiffs cannot point to any allegation that

  subscribers were drawn to or would switch services due to Charter’s alleged practices.

          Plaintiffs can point to no plausible allegations that support the financial benefit prong of

  vicarious liability. While they argue that the omission of allegations from their Complaint “does

  not bear on whether Plaintiffs have stated a claim,” the sufficiency of their pleadings is precisely

  at issue here. See Opp. at 16. This failure to allege is fatal to their claim for vicarious liability.4

  II.     Plaintiffs’ arguments on the “right and ability to control” element of vicarious
          liability simply reinforce that they have sued the wrong party.

          Plaintiffs rely on cherry-picked quotes from a handful of out-of-circuit cases to argue that


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    Plaintiffs also inflate the number of alleged infringers by conflating numbers of subscribers and
  numbers of notices. Compare Opp. at 1 (“hundreds of thousands of defendant’[s] . . .
  subscribers”) with Opp. at 4 (“Plaintiffs … identified hundreds of thousands of specific
  instances….”).
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    Plaintiffs contend that Charter’s arguments rely on information “peculiarly within its
  knowledge or control,” Opp. at 17, but the deficiencies identified herein do not warrant
  additional investigation.
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  the right and ability to control requirement is satisfied where a defendant has the ability to limit a

  user’s capacity to upload or download materials to or from the internet. Opp. at 7. Specifically,

  Plaintiffs point to several cases where the defendant provided a closed, online file exchange

  system. Escape Media, 2015 WL 1402049 (defendant Grooveshark.com was a streaming site

  that allowed users to upload files to its system); Capitol Records, LLC v. ReDigi Inc., 934 F.

  Supp. 2d 640 (S.D.N.Y. 2013) (defendant website engaged in the resale of digital downloads);

  Usenet.com, Inc., 633 F. Supp. 2d 124 (file sharing site defendant); A&M Records, Inc. v.

  Napster, Inc., 239 F.3d 1004 (9th Cir. 2001) (defendant was a music exchange site that permitted

  users to remotely access infringing files on other users’ hard drives). In each case, the defendant

  managed, operated, and controlled the very servers and technology that facilitated the transfer of

  copyrighted material. Each defendant played a direct role in indexing the infringing material and

  had the ability to block or remove content transmitted through or uploaded to its site. By virtue

  of its proximate relationship to the direct infringement, each defendant had the ability to stop

  users from storing infringing material on its servers and to identify and remove the allegedly

  infringing material upon notice, and therefore, had the practical ability to control it. Escape

  Media, 2015 WL 1402049 at *42; ReDigi, 934 F. Supp. 2d at 655, 660; Usenet.com, 633 F.

  Supp. 2d at 157; Napster, 239 F.3d at 1012, 1023.

         For Charter, no such practical ability exists. The technology that allegedly facilitates the

  transfer of infringing material is BitTorrent and other P2P file sharing protocols. Charter cannot

  control BitTorrent or other P2P technology, nor do Plaintiffs allege as much. Terminating a

  user’s internet service does not preclude that user from continuing to use BitTorrent or other P2P

  websites. Indeed, infringement will not be prevented as in the cases cited by Plaintiffs, as




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  infringers could still access the services through other connections, including mobile services.5

  The restrictions contemplated in Plaintiffs’ cited cases would have controlled access to the

  specific, infringing files themselves. Here, Charter exercises no such control.

         Rather than target the allegedly infringing P2P platforms themselves, Plaintiffs instead

  attempt to support a highly attenuated theory of liability. Plaintiffs try to distinguish Amazon and

  Visa by arguing that both “expressly distinguished situations like this one.” Opp. at 9. However,

  Amazon specifically notes that the defendants at issue in that case could not “block [the users]

  ability to ‘host and serve infringing [material] on the Internet.” Amazon, 508 F.3d 1174. The very

  same is true here: Charter cannot control what files its subscribers access or prevent users from

  using BitTorrent or other P2P software to infringe. Similarly, the Visa court highlighted that Visa

  could not “block access to the internet,” and neither can Charter. Visa, 494 F.3d at 804. Charter

  can only block one method of accessing the internet.6 Plaintiffs cannot sufficiently allege that

  Charter has the right and ability to control the allegedly infringing conduct at issue.

                   CONCLUSION AND REQUEST FOR ORAL ARGUMENT

         Charter respectfully requests that the Court grant its Motion and dismiss Plaintiffs’ claim

  for vicarious liability for failing to sufficiently allege either prong of that claim. Given the import

  of the legal issues raised in this Motion, Charter respectfully requests oral argument.


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    The language from Napster relied upon by Plaintiffs, in fact, supports Charter’s position. 239
  F.3d at 1023 (emphasis added) (“The ability to block infringers’ access to a particular
  environment for any reason whatsoever is evidence of the right and ability to supervise.”). There
  is no “particular environment” at issue here—it is the entirety of the internet. Id.
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    Plaintiffs reject the argument that any restriction imposed by Charter would not stop
  infringement. Opp. at 8. Pointing to ReDigi, they argue that infringement occurring outside of
  Charter’s network is irrelevant. This argument fails for the same reason that their effort to
  analogize ReDigi fails: ReDigi dealt with a closed system where defendant’s own system was
  being used to host infringing material. 934 F. Supp. 2d at 645, 657, 660. By contrast, Charter has
  no practical ability to control BitTorrent.



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        Respectfully submitted this 29th day of July, 2019.

                                             Respectfully submitted,



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                                  CERTIFICATE OF SERVICE


          The undersigned hereby certifies that on this 29th day of July 2019, a true and correct copy
  of the foregoing DEFENDANT CHARTER COMMUNICATIONS, INC.’S REPLY IN
  SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ CLAIM FOR VICARIOUS
  LIABILITY was served electronically via CM/ECF E-Filing system as follows unless otherwise
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